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DOCKET No. \l`\ ORLO_:) <<)Q DEF `//\:70€1 QmUM§)_
NEW 9/\‘7{€0\:‘<<\\) BE AINED FEDE§;MM

 

 

 

El INTERPRET(ER.NEED
/_/,r 1 _` , _ ` cl DEFE NT wA.IvEs PRETRIAL REPORT
,b/ f/\:…»`-\ ~ _ -\q/Z,S*.,(~?
l:l Rule 5 Rule9_ BRure$géj£J) /El/zetem n`/Hrg DATE 0F ARREST ~¢ El voL. sURR.
IJ x " TIME OF ARREST ~ § ~\ El 0N wRIT
El other: `\§ ' f _ .",j TIME 0F PRESENTMENT 319 ‘P-
\ ~v f \~/ '\ j> _

 

.~~ ’ BAIL DISPOSITlON

x , E| SEE SEP. 0RDER
I:l DETENHON ON CONSENT W/O PREJUDICE El DETENTION: RISK OF FLIGHT/DANGER _ El sEE TRANSCRIPT
I:l DETENHON HEARING SCHEDULED FOR:

n AGREED CONDITIONS OF RELEASE

 

 

X$ DDEF REL.EAS D 0N owN RECoGNIzANcE WL,
PRB n FRP ~
El sEcURED BY $ cAsH/PROPERTY;’~ H`€`¢‘~Q-'7 733\] CZ\S\-¢~e’{:\§-Q G,‘~e../?{` 7'/\)
B TRAVEL RESTRICTED To sDNY/EDNY/ <,`N IN z NT m
Cl 0RARY ADDITIoNAL TRAVEL UPoN coNsENT 0F AUSA & APPRovAL 0F PRETRIAL sERvIcEs

SURRE NDER TRAVEL DOCUTv[ENTS (& NO NEW APPLICATIONS)

b/ RETRlAL sUPERvIsIoN: El REGULAR El STRICT Ms DIRECTED BY PRETRIAL sEvacEs ` ‘
DRUG TEsTlNG/'rREATMT As DIRECTED BY PTS El MENTAL HEALTH EvAerREATMT As DIRECTED BY PTS
D DEF. To suBMIT To URlNALYsIs; IF PosITIVE, ADD coNDITIoN 0F DRUG TESTn\IG/rREATMENT

|:l HOME INCARCERATION |:l HOME DETENTION |:l CURFEW |:l ELECTRONIC MONITOR[NG |:l GPS
|:l DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITOR[NG, AS DETERMINED BY PRETRIAL SERVICES

|:l DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 13 DEF. TO CONTINUE OR START EDUCATION PROGRAM
13 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

C! DEF. TO BE DETA[NED UNTIL ALL CONDITIONS ARE MET
FDEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
;REMAINlNG CONDITIONS TO BE MET BY: H ~~L§ § Z

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

M¢~J/ </é“MQ-;L/\/¢Mw/ al
CC,WQQN,` ¢,V{¢E;€“£@NM § 0--§‘+0.9/€/;1;7/14~0\/\17
Z"Z/Ar <»`</U \\§M/\

DEF. ARRAIGNED; PLEADSN T.WT'I\IO§GUIM"Y `gLCONFERENCE BEFORED 1 ON 'i l'Z~ f 7
' D.DEF. wAIvEs INDICTMENT ‘ “__"___

sPEEDY TRIAL TIME EXCLUDED UNDER 18 U.s.c. § 3161(h)(7)UNT1L { \' L “ 17

For Rule 51¢)_(3) Cases:
13 IDENTITY HEARING WAIVED L'l DEFENDANT TO BE REMOVED

Cl PRELIMINARY HEARING IN SDNY WAIVED |:l CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARING DATE: U ON DEFENDANT’S CONSENT

1 W/§§

§ UNITED STATES MAG'ISTRATE JUDGE, S.D.N.Y.

MHIE (originzl) - COURT FlLE mng - U S` AT\`ORNEV`S OFFICE w - U S MARSHAL G_KEEN - PRETRIAL SERVICES AGENCV
Rev’d 2016 IH - 2 .

 

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